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13   Sharp Electronics Manufacturing Company of America, Inc.

14
                                      UNITED STATES DISTRICT COURT
15
                                    NORTHERN DISTRICT OF CALIFORNIA
16                                       SAN FRANCISCO DIVISION

17   In re: CATHODE RAY TUBE (CRT) ANTITRUST                    Case No. 07-cv-05944 SC
     LITIGATION
18                                                              MDL No. 1917
19   This Document Relates to:                                  PLAINTIFFS’ ADMINISTRATIVE
                                                                MOTION TO FILE DOCUMENTS
20   ALL INDIRECT PURCHASER ACTIONS                             RELATED TO PLAINTIFFS’
                                                                OPPOSITION TO THE TOSHIBA
21   Electrograph Systems, Inc. et al. v. Hitachi, Ltd.,        DEFENDANTS’ MOTION FOR
     et al., No. 11-cv-01656;                                   SUMMARY JUDGMENT
22                                                              CONCERNING WITHDRAWAL
     Siegel v. Hitachi, Ltd., et al., No. 11-cv-05502;          UNDER SEAL PURSUANT TO
23                                                              CIVIL LOCAL RULES 7-11, 79-5(b),
     Best Buy Co., Inc., et al. v. Hitachi, Ltd., et al., No.   AND 79-5(e)
24   11-cv-05513;

25   Target Corp., et al. v. Chunghwa Picture Tubes,
     Ltd., et al., No. 11-cv-05514;
26
     Sears, Roebuck and Co., et al. v. Chunghwa
27   Picture Tubes, Ltd., et al., No. 11-cv-05514-SC;

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      PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL PURSUANT TO CIVIL LOCAL RULES 7-11, 79-5(B), AND 79-5(E)
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 1   Interbond Corporation of America v. Hitachi, et
     al., No. 11-cv-06276;
 2
     Office Depot, Inc. v. Hitachi, Ltd., et al.,
 3   No. 11-cv-06276;
 4   Sharp Elecs. Corp. v. Hitachi, Ltd.,
     No. 13-cv-01173;
 5
     CompuCom Systems, Inc. v. Hitachi, Ltd. et al., No.
 6   11-cv-06396;
 7   Costco Wholesale Corp. v. Hitachi, Ltd., et al., No.
     11-cv-06397;
 8
     P.C. Richard & Son Long Island Corp., et al. v.
 9   Hitachi, Ltd., et al., No. 12-cv-02648;
10   Schultze Agency Services, LLC v. Hitachi, Ltd., et
     al., No. 12-cv-02649;
11
     Tech Data Corp., et al. v. Hitachi, Ltd., et al., No.
12   13-cv-00157;
13   ViewSonic Corp. v. Chunghwa Picture Tubes, Ltd.,
     et al., No. 3:14-cv-02510
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      PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL PURSUANT TO CIVIL LOCAL RULES 7-11, 79-5(B), AND 79-5(E)
                                          CASE NO. 07-5944-SC; MDL NO. 1917
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 1          Pursuant to Civil Local Rules 7-11 and 79-5, the Direct Action Plaintiffs and Indirect Purchaser

 2   Plaintiffs (“Plaintiffs”) will, and hereby do, respectfully move this Court for leave to submit under seal

 3   portions of Plaintiffs’ Opposition to the Toshiba Defendants’ Motion for Summary Judgment

 4   Concerning Withdrawal (“Withdrawal MSJ Opposition”), as well as Exhibits 1-34 and 36-48 to the

 5   Declaration of Gary R. Carney in Support of Plaintiffs’ Withdrawal MSJ Opposition. In support of this

 6   request, Plaintiffs submit the Declaration of Gary R. Carney and a [Proposed] Order in compliance with

 7   Local Rule 79-5(d).

 8          Specifically, the following exhibits and portions of Plaintiffs’ Withdrawal MSJ Opposition

 9   contain, discuss, analyze, or directly reference information designated by other parties as “Confidential”

10   or “Highly Confidential” pursuant to the Protective Order entered in the above-captioned case:

11
                            DOCUMENT                            PAGE:LINE REF. OR EXHIBIT NOS.
12
            Plaintiffs’ Withdrawal MSJ Opposition           2:7-11 and 17-23
13                                                          3:1-2
                                                            4:6-8 and 11-25
14                                                          5:1-17
                                                            5:19 – 6:6
15                                                          6:8-18 and 21-28
                                                            7:8-23 and 27-28
16                                                          8:2-28
                                                            9:3-6 and 9-24
17                                                          10:1 – 11:17
                                                            11:21-23 and 25-28
18                                                          12:1-4
                                                            15:20-22
19                                                          16:1-3 and 20-27
                                                            17:12-22
20                                                          18:16-19
                                                            21:9-18
21
            Declaration of Gary R. Carney in Support        Exhibits 1-34 and 36-48
22          of Plaintiffs’ Withdrawal MSJ Opposition

23
            All of the information subject to this administrative motion to file under seal has been designated
24
     “Confidential” or “Highly Confidential” by defendants Chunghwa Picture Tubes, Ltd.; Koninklijke
25
     Philips N.V.; MT Picture Display Co., Ltd.; Panasonic Corporation; Samsung SDI; Thomson SA;
26
     Toshiba America Electronic Components, Inc., or Toshiba Corporation under the Stipulated Protective
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                                                          -1-
      PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL PURSUANT TO CIVIL LOCAL RULES 7-11, 79-5(B), AND 79-5(E)
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 1   Order entered in this case. Plaintiffs seek to submit the above material under seal in good faith in order

 2   to comply with the Protective Order and this Court’s Local Rules.

 3                  Pursuant to the Local Rules (revised November 1, 2014), the party or parties designating

 4   the materials referenced above “must file a declaration as required by subsection 79-5(d)(1)(A)

 5   establishing that all of the designated material is sealable.” Civ. L.R. 79-5(e)(1). Plaintiffs are prepared

 6   to file the documents referenced above that have been designated “Confidential” or “Highly

 7   Confidential” by the Designating Parties in the public record “[i]f the Designating Party does not file a

 8   responsive declaration as required by subsection 79-5(e)(1) and the Administrative Motion to File Under

 9   Seal is denied.” Civ. L.R. 79-5(e)(2).

10                  Plaintiffs respectfully submit this administrative motion pursuant to the Protective Order

11   and Civil Local Rule 79-5(d), and, through this submission, hereby notify the Designating Parties listed

12   above of their burden to establish that the designated material is properly sealable.

13
     DATED: December 23, 2014               By: /s/ Craig A. Benson
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                                            Kenneth A. Gallo (pro hac vice)
15                                          Joseph J. Simons (pro hac vice)
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26                                          Sharp Electronics Manufacturing Company of America,
                                            Inc.
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      PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL PURSUANT TO CIVIL LOCAL RULES 7-11, 79-5(B), AND 79-5(E)
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 1                                        CERTIFICATE OF SERVICE
 2                  On December 23, 2014, I caused a copy of Plaintiffs’ Administrative Motion to File
 3   Documents Related to Plaintiffs’ Opposition to the Toshiba Defendants’ Motion for Summary Judgment
 4 Concerning Withdrawal Under Seal Pursuant to Civil Local Rules 7-11 and 79-5(b) to be electronically

 5 filed via the Court’s Electronic Case Filing System, which constitutes service in this action pursuant to

 6 the Court’s order of September 29, 2008. In addition, I caused true and correct complete copies of all

 7 documents referenced in this administrative sealing motion to be delivered to counsel for all parties by

 8 electronic mail, pursuant to Civil Local Rule 79-5(e).

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     DATED: December 23, 2014              By: /s/ Craig A. Benson
11                                              Craig A. Benson
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      PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL PURSUANT TO CIVIL LOCAL RULES 7-11, 79-5(B), AND 79-5(E)
                                          CASE NO. 07-5944-SC; MDL NO. 1917
